
NY Spine Physical Therapy, P.C., as Assignee of Joseph Vitale, Respondent,
againstGEICO General Insurance Co., Appellant.
The Law Office of Printz &amp; Goldstein, 
Lawrence Chanice, Esq., for appellant.The Odierno Law Firm, P.C., for 
respondent (no brief filed).

Appeal from a judgment of the Civil Court of the City of New York, Queens County (Jodi Orlow, J.), entered July 27, 2015. The judgment, after a nonjury trial, awarded plaintiff the principal sum of $289.29.




ORDERED that the judgment is affirmed, with $25 costs.
In this action by a provider to recover assigned first-party no-fault benefits, defendant appeals from a judgment of the Civil Court which, after a nonjury trial, awarded plaintiff the principal sum of $289.29.
Defendant's sole contention on appeal is that the Civil Court improvidently exercised its discretion in denying defendant's application to adjourn the trial to enable it to secure the attendance of expert witnesses. For the reasons stated in Middle Village Chiropractic, as Assignee of Artur Mujaxhi v Geico Gen. Ins. Co. (___ Misc 3d ___, 2017 NY Slip Op _____ [appeal No. 2015-2880 Q C]), decided herewith), the judgment is affirmed.
Weston, J.P., Pesce and Aliotta, JJ., concur.
ENTER:Paul Kenny
Chief Clerk
Decision Date: April 07, 2017







